Case: 11-13671-PGC Doc #: 173 Filed: 11/01/11 Desc: Main Document                        Page 1 of 3



                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW HAMPSHIRE

In re:

    Kingsbury Corporation
    Donson Group, Ltd.                             Bk. No. 11-13671-JMD
    Ventura Industries, LLC                        Bk. No. 11-13700-JMD
                                                   Bk. No. 11-13687-JMD
                Debtors.                           Jointly Administered


ORDER ON MOTION TO: (I) PROHIBIT UTILITIES FROM ALTERING, REFUSING OR
   DISCONTINUING SERVICES; (II) APPROVE THE FORM AND MANNER OF
       PROVIDING ADEQUATE ASSURANCE TO THE UTILITIES; AND
       (III) ESTABLISH PROCEDURES FOR DETERMINING REQUESTS
                 FOR ADDITIONAL ADEQUATE ASSURANCE

         Upon consideration of the motion of Kingsbury Corporation (the “Debtor”), debtor and

debtor in possession in the jointly administered, above-captioned chapter 11 case, to: (i) prohibit

utilities from altering, refusing, or discontinuing services; (ii) approve the form and manner of

providing adequate assurance to the utilities; and (iii) establish procedures for determining requests

for additional adequate assurance (the “Motion”) and, upon consideration of the objection of Public

Service Company of New Hampshire (“PSNH”) and any other responses to the Motion, it is hereby

ORDERED, ADJUDGED and DECREED as follows:

         1.     The Motion is granted as to non-appearing utilities.

         2.     Service of the Motion in the manner set forth in the Motion was adequate service

under the circumstances of the case.

         3.     The Utility Companies other than PSNH (as such term is defined in the Motion) are

hereby prohibited from altering, refusing or discontinuing service on account of any prepetition

invoice.

         4.     With respect to Utility Companies other than Public Service of New Hampshire

(“PSNH”), the Debtor shall make deposit payments to those Utility Companies as adequate

assurance of payment under section 366 of the Bankruptcy Code in amounts not to exceed the

                                                  1
Case: 11-13671-PGC Doc #: 173 Filed: 11/01/11 Desc: Main Document                           Page 2 of 3



amounts set forth in Exhibit A attached hereto with such amounts to be paid within thirty (30) days

of the date of entry of this Order and in accordance with the terms and conditions set forth in the

Motion.

         5.       With respect to PSNH, the Debtor shall pay to PSNH $12,500 upon entry of this

Order and the time provided in 11 U.S.C. § 366(c) shall be extended thirty days to November 29,

2011

         6.       The Debtor shall pay all undisputed utility bills for postpetition services when due.

         7.        Any Utility Company that failed to timely respond to the Motion is hereby deemed

adequately protected by the form of adequate assurance set forth in the Motion.

         8.       If a Utility Company timely requests adequate assurance that the Debtor believes is

unreasonable, the Debtor will file a motion for determination of adequate assurance of payment and

serve such motion for a Determination Hearing (as such term is defined in the Motion) at the

Court’s discretion.     In the event a Determination Hearing is scheduled, the Utility Company

requesting adequate assurance shall be deemed to have adequate assurance of payment until an

order of the Court is entered in connection with such Determination Hearing.

         9.       No Determination Hearing or Order entered at any Determination Hearing shall

affect the rights and obligations of any of the Utility Companies other than the Utility Company

whose request for adequate assurance necessitated the Determination Hearing.

         10.      The entry of this Order is without prejudice to the rights of any Utility Company to

seek relief on the ground that it is not a utility within the meaning of section 366 of the Bankruptcy

Code.


Dated:        November 01, 2011                               /s/ J. Michael Deasy

                                                    The Honorable J. Michael Deasy
                                                    United States Bankruptcy Judge



                                                    2
Case: 11-13671-PGC Doc #: 173 Filed: 11/01/11 Desc: Main Document         Page 3 of 3




                               Schedule of Utility Companies
                                                                                   A
            Provider                         Type of Utility Service     Deposit
Consolidated Edison Solutions, Inc.   Electricity – Energy Service        $12,500.00
100 Summit Lake Drive, Suite 410
Valhalla, NY 10595
City of Keene                         Water and Sewer                      $1,096.92
Public Works Department
350 Marlboro Street
Keene, NH 03431
One Communication                     Phone Service Keene                  $1,500.00
P.O. Box 415721
Boston, MA 02241-5721
One Communication                     Internet Service Keene                 $275.00
P.O. Box 415721
Boston, MA 02241-5721
Verizon                               Wireless Phone Service Keene           $475.00
P.O. Box 15062
Albany, NY 12212-5062
Frontier                              Phone Service for Sales Employee       $140.00
P.O. Box 2951                         Located in Ohio
Phoenix, AZ 85062-2951
